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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 WYE OAK TECHNOLOGY, INC.                          )
                                                   )
                  Plaintiff
                                                   )
                  v.                               )
                                                   )
 REPUBLIC OF IRAQ and MINISTRY OF                  ) Civil No. 1:10-cv-1182 (RCL)
 DEFENSE OF THE REPUBLIC OF IRAQ,                  )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )

 DEFENDANTS’ CONSENT MOTION TO EXTEND TIME TO FILE RESPONSE AND
   REPLY TO PLAINTIFF’S MOTION TO AMEND ORDER AND JUDGMENT
         [ECF 553] AS TO PRE- AND POST-JUDGMENT INTEREST

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, and with the consent of

Plaintiff Wye Oak Technology, Inc. (“Wye Oak”), Defendants Republic of Iraq (“Iraq”) and

Ministry of Defense of the Republic of Iraq (“MoD”) (collectively, “Defendants”) respectfully

request that the time in which Defendants must submit their Response to Wye Oak’s Motion to

Amend Order and Judgment [ECF 553] as to Pre- and Post-Judgment Interest, dated January 17,

2023 (ECF No. 554) (the “Motion to Amend”), be extended by one week to February 7, 2023

and the time in which Wye Oak must submit its Reply to Defendants’ Response be extended by

one week to February 21, 2023.

       Wye Oak filed its Motion to Amend on January 17, 2023. Under Local Rules 7(b) and

(d), respectively, Defendants’ Response would otherwise be due on January 31, 2023 and Wye

Oak’s Reply on February 7, 2023. In light of the issues raised in Wye Oak’s Motion to Amend

and other filing deadlines and case commitments of Defendants’ counsel, good cause exists for

this extension.
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        WHEREFORE, good cause having been shown, Defendants request the time for

submitting their Response be extended for one week, to and including February 7, 2023, and the

time for Wye Oak to submit its Reply be extended for one week, to and including February 21,

2023.

Dated: January 23, 2023

                                          Respectfully submitted,


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